
ORDER
PER CURIAM:
AND NOW, this 24th day of January, 2006, a Rule having been entered by this Court on November 10, 2005, pursuant to Rule 214(d)(1), Pa.R.D.E., directing Charles P. Mirarchi, III, to show cause why he should not be placed on temporary suspension and no response thereto having been filed, it is hereby
ORDERED that the Rule is made absolute, Charles P. Mirarchi, III, is placed on temporary suspension pursuant to Rule 214(d)(2), Pa.R.D.E., and he shall comply with all the provisions of Rule 217, Pa. R.D.E.; and the matter is referred to the Disciplinary Board pursuant to Rule 214(f)(1), Pa.R.D.E.
Former Justice NIGRO did not participate in this matter.
